Case 1:20-cv-08786-GHW Document 38-2 Filed 02/18/21 Page 1of 10
Case 1:20-cv-08786-GHW Document 11 Filed 12/04/20 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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K & S PRODUCE, INC. Index No.: 1:20-cv-08786
Plaintiff, AFFIDAVIT OF
SERVICE
~against-

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.

 

Defendants.
x
STATE OF NEW YORK }
} ss.:
COUNTY OF NASSAU }

I, Lee Pakulsky, being duly sworn depose and say:

1 am not a party to the action; I am over 18 years of age and reside in Queens County, New York,
that on the 1° day of December 2020, I served the SUMMONS and COMPLAINT was served

upon.

100 BROAD STREET, LLC a/k/a ESSEN FOOD
100 Broad Street
New York, NY 10004

Service:

I served the papers by serving 100 BROAD STREET, LLC a/k/a ESSEN FOOD, 100 Broad
Street, New York, New York 10004.

By leaving same with Steve (Last Name refused), an authorized agent of the said Defendant at
the Defendant’s actual place of business noted above.

Description:
The individual I served had the following characteristics: Male, Asian, Brown eyes, Black
Case 1:20-cv-08786-GHW Document 38-2 Filed 02/18/21 _ Page 2 of 10
Case 1:20-cv-08786-GHW Document11 Filed 12/04/20 Page 2 of 2

Hair, approximately 40-45 years of age, approximately 5’10” in height and approximately 170
pounds in weight.

Mailing: On such date, December 1, 2020, a true copy of Summons and Complaint was mailed
via certified mail to the last known address of the Defendant for that purpose located at 100
Broad Street, New York, NY 10004, by depositing a true copy of the within documents in a
postage paid envelope in a Post Office Box regularly maintained by the United States
Government at Manhasset, County of Nassau, State of New York.

Sworn to before me this Lee Pakulsky.

 
   

 

x
Notary Public
TIMOTHY J. FIERST
Notary Public, State of New York
No, 02F149/8899
Qualified in Nassau County

Commission Expires ae 9
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Case 1:20-cv-08786-GHW Document 38-2 Filed 02/18/21 Page 3 of 10
Case 1:20-cv-08786-GHW Document 12 Filed 12/04/20 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC. Index No.: 1:20-cv-08786

Plaintiff, AFFIDAVIT OF
SERVICE
-against-

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN

Individually and in any corporate capacity.

Defendants.
x

 

STATE OF NEW YORK }
} ss.:
COUNTY OF NASSAU }

I, Lee Pakulsky, being duly sworn depose and say:

I am not a party to the action; I am over 18 years of age and reside in Queens County, New York,
that on the 1 day of December 2020, I served the SUMMONS and COMPLAINT was served

upon:

ESSEN22 LLC a/k/a ESSEN FOOD
100 Broad Street
New York, NY 10004

Service:
I served the papers by serving ESSEN22 LLC a/k/a ESSEN FOOD, 100 Broad Street, New

York, New York 10004.

By leaving same with Steve (Last Name refused), an authorized agent of the said Defendant at
the Defendant’s actual place of business noted above.

Description:
The individual I served had the following characteristics: Male, Asian, Brown eyes, Black
Case 1:20-cv-08786-GHW Document 38-2 Filed 02/18/21 Page 4 of 10
Case 1:20-cv-08786-GHW Document 12 Filed 12/04/20 Page 2 of 2

Hair, approximately 40-45 years of age, approximately 5°10” in height and approximately 170
pounds in weight.

Mailing: On such date, December 1, 2020, a true copy of Summons and Complaint was mailed
via certified mail to the last known address of the Defendant for that purpose located at 100
Broad Street, New York, NY 10004, by depositing a true copy of the within documents in a
postage paid envelope in a Post Office Box regularly maintained by the United States
Government at Manhasset, County of Nassau, State of New York.

 

Sworn to before me this

 

 

“ Notary Koti
TIMOTHY J. FIERST

Notary Public, State of New York
No, 02Fi4s7sa09

ified in Nassau County

Commission Expiras
+t Rs
Case 1:20-cv-08786-GHW Document 38-2 Filed 02/18/21 Page 5 of 10
Case 1:20-cv-08786-GHW Document 13 Filed 12/04/20 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC. Index No.: 1:20-cv-08786
Plaintiff, AFFIDAVIT OF
ERVICE
-against-

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.

Defendants.
x

 

STATE OF NEW YORK }
} ss.:
COUNTY OF NASSAU }

I, Lee Pakulsky, being duly sworn depose and say:

I am not a party to the action; I am over 18 years of age and reside in Queens County, New York,
that on the 1° day of December 2020, I served the SUMMONS and COMPLAINT was served

upon:

JOHN BYUN
100 Broad Street
New York, NY 10004

Service:
I served the papers by serving JOHN BYUN, 100 Broad Street, New York, New York 10004.

By leaving same with Steve (Last Name refused), an authorized agent of the said Defendant at
the Defendant’s actual place of business noted above.

Description: _
The individual | served had the following characteristics: Male, Asian, Brown eyes, Black
Case 1:20-cv-08786-GHW Document 38-2 Filed 02/18/21 Page 6 of 10
Case 1:20-cv-08786-GHW Document13 Filed 12/04/20 Page 2 of 2

Hair, approximately 40-45 years of age, approximately 5°10” in height and approximately 170
pounds in weight.

Mailing: On such date, December 1, 2020, a true copy of Summons and Complaint was mailed
via certified mail to the last known address of the Defendant for that purpose located at 100
Broad Street, New York, NY 10004, by depositing a true copy of the within documents in a
postage paid envelope in a Post Office Box regularly maintained by the United States
Government at Manhasset, County of Nassau, State of New York.

af “le
Name:

Sworn to before me this Pakulsky.
328 day of December,2020

a *<
Notarf Public

TIMOTHY J. FERS T
Notary Pubuc, State ¢t New York
No, G2F10 700g
. Quaifiud in Nessay County
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Case 1:20-cv-08786-GHW Document 14 Filed 12/04/20 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC. Index No.: 1:20-cv-08786
Plaintiff, AFFIDAVIT OF
SERVICE
-against-

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.

 

Defendants.
x
STATE OF NEW YORK }
} ss.:
COUNTY OF NASSAU }

1, Lee Pakulsky, being duly sworn depose and say:

I am not a party to the action; I am over 18 years of age and reside in Queens County, New York,
that on the 1* day of December 2020, I served the SUMMONS and COMPLAINT was served

upon:

CHONG WON BYUN
100 Broad Street
New York, NY 10004

Service:
I served the papers by serving CHONG WON BYUN, 100 Broad Street, New York, New York

10004.

By leaving same with Steve (Last Name refused), an authorized agent of the said Defendant at
the Defendant’s actual place of business noted above.

Description: -
The individual I served had the following characteristics: Male, Asian, Brown eyes, Black
Case 1:20-cv-08786-GHW Document 38-2 Filed 02/18/21 Page 8 of 10
Case 1:20-cv-08786-GHW Document 14 Filed 12/04/20 Page 2 of 2

Hair, approximately 40-45 years of age, approximately 5°10” in height and approximately 170
pounds in weight.

Mailing: On such date, December 1, 2020, a true copy of Summons and Complaint was mailed
via certified mail to the last known address of the Defendant for that purpose located at 100
Broad Street, New York, NY 10004, by depositing a true copy of the within documents in a
postage paid envelope in a Post Office Box regularly maintained by the United States
Government at Manhasset, County of Nassau, State of New York.

Name:

  

 

Notaty Public
MOTHY J. RERST
Public, State af New Yori
No. G2FiG, 8999
Qualified in Nassau County
Commission Expires f esrunry essa

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Case 1:20-cv-08786-GHW Document 38-2 Filed 02/18/21 Page 9 of 10
Case 1:20-cv-08786-GHW Document 15 Filed 12/04/20 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC. Index No.: 1:20-cv-08786
Plaintiff, AFFIDAVIT OF
SERVICE
-against-

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.

 

Defendants.
x
STATE OF NEW YORK }
} ss.:
COUNTY OF NASSAU }

I, Lee Pakulsky, being duly sworn depose and say:

I am not a party to the action; I am over 18 years of age and reside in Queens County, New York,
that on the 1 day of December 2020, I served the SUMMONS and COMPLAINT was served

upon:

WILLIAM BYUN
100 Broad Street
New York, NY 10004

Service:
I served the papers by serving WILLIAM BYUN, 100 Broad Street, New York, New York

10004.

By leaving same with Steve (Last Name refused), an authorized agent of the said Defendant at
the Defendant's actual place of business noted above.

Description:
The individual I served had the following characteristics: Male, Asian, Brown eyes, Black
Case 1:20-cv-08786-GHW Document 38-2 Filed 02/18/21 Page 10 of 10
Case 1:20-cv-08786-GHW Document 15 Filed 12/04/20 Page 2 of 2

Hair, approximately 40-45 years of age, approximately 5°10” in height and approximately 170
pounds in weight.

Mailing: On such date, December 1, 2020, a true copy of Summons and Complaint was mailed
via certified mail to the last known address of the Defendant for that purpose located at 100
Broad Street, New York, NY 10004, by depositing a true copy of the within documents in a
postage paid envelope in a Post Office Box regularly maintained by the United States
Government at Manhasset, County of Nassau, State of New York.

Name:

 

Sworn to before me this

 

 

Notdty Public

TIMOTHY J. FIERST
Notary Public, Sta‘e of Mew York
No. O2Fl29 78929
Qualtied In Nassau Cov nty

Commission Exnires Presser FrSed.

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